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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE

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                                                             :
In re                                                        :       Chapter 11
                                                             :
CHECKOUT HOLDING CORP., et al.,                              :       Case No. 18-12794 (KG)
                                                             :
                  Debtors.1                                  :       Joint Administration Requested
                                                             :
------------------------------------------------------------ X

                        NOTICE OF APPEARANCE AND REQUEST
                    FOR SERVICE PURSUANT TO FED. R. BANKR. P. 2002

                 PLEASE TAKE NOTICE that certain financial institutions from time to time, as

DIP lenders and as parties to the ad hoc group of lenders under the First Lien Credit Agreement

with the above-captioned debtors (collectively, the “Ad Hoc First Lien Lender Group”) hereby

appear by their counsel, Jones Day and Pachulski Stang Ziehl & Jones LLP (“PSZJ”). Jones Day

and PSZJ hereby enter their appearances pursuant to section 1109(b) of title 11 of the United

States Code (the “Bankruptcy Code”), and Rule 9010(b) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and request that the undersigned be added to the official

mailing matrix and service lists in these cases. Jones Day and PSZJ request, pursuant to

Bankruptcy Rules 2002, 3017 and 9007 and section 1109(b) of the Bankruptcy Code, that copies

of all notices and pleadings given or required to be given in these chapter 11 cases and copies of

all papers served or required to be served in these chapter 11 cases, including but not limited to,

all notices (including those required by Bankruptcy Rule 2002), reports, pleadings, motions,



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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Catalina Marketing Corporation (9007); Catalina Marketing Procurement, LLC (9333); Catalina
Marketing Technology Solutions, Inc. (8728); Catalina Marketing Worldwide, LLC (9687); Cellfire Inc. (5599);
Checkout Holding Corp. (4651); Modiv Media, Inc. (3507); PDM Group Holdings Corporation (9148); PDM
Holdings Corporation (5025); and PDM Intermediate Holdings B Corporation (3278). The Debtors’ principal
offices are located at 200 Carillon Parkway, St. Petersburg, FL 33716.


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applications, lists, schedules, statements, chapter 11 plans, disclosure statements and all other

matters arising herein or in any related adversary proceeding, be given and served upon the Ad

Hoc First Lien Lender Group through service upon Jones Day and PSZJ at the addresses,

telephone, and facsimile numbers set forth below:

JONES DAY                                     PACHULSKI STANG ZIEHL & JONES LLP
Scott J. Greenberg                            Laura Davis Jones
Michael J. Cohen                              Timothy P. Cairns
Stacey L. Corr-Irvine                         Joseph M. Mulvihill
250 Vesey Street                              919 N. Market Street, 17th Floor
New York, NY 10281                            P.O. Box 8705
Telephone: (212) 326-3939                     Wilmington, DE 19899-8705 (Courier 19801)
Facsimile: (212) 755-7306                     Telephone: (302) 652-4100
Email: sgreenberg@jonesday.com                Facsimile: (302) 652-4400
        mcohen@jonesday.com                   Email: ljones@pszjlaw.com
        scorrirvine@jonesday.com                     tcairns@pszjlaw.com
                                                     jmulvihill@pszjlaw.com

                 PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

any application, complaint or demand, motion, petition, pleading or request, and answering or

reply papers filed in these cases, whether formal or informal, written or oral, and whether served,

transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex or otherwise filed or

made with regard to the above-captioned cases and proceedings therein.

                 PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and

Request for Service Pursuant to Fed. R. Bankr. P. 2002 shall not be deemed or construed to be a

waiver of any of the rights of the Ad Hoc First Lien Lender Group, including, without limitation,

to (i) have final orders in non-core matters entered only after de novo review by a higher court,

(ii) trial by jury in any proceeding so triable in this case, or any case, controversy, or adversary

proceeding related to this case, (iii) have the reference withdrawn in any matter subject to
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mandatory or discretionary withdrawal, or (iv) any other rights, claims, actions, defenses, setoffs,

or recoupments to which the Ad Hoc First Lien Lender Group may be entitled in law or in

equity, all of which rights, claims, actions, defenses, setoffs, and recoupments are expressly

reserved.



Dated: December 12, 2018                         PACHULSKI STANG ZIEHL & JONES LLP


                                                  /s/ Laura Davis Jones
                                                 Laura Davis Jones (DE Bar No. 2436)
                                                 Timothy P. Cairns (DE Bar No. 4228)
                                                 Joseph M. Mulvihill (DE Bar No. 6061)
                                                 919 N. Market Street, 17th Floor
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                                                  -and-

                                                  JONES DAY
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                                                  Counsel to the DIP Lenders and Ad Hoc First
                                                  Lien Lender Group




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